                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

JAMES A. BUNN, d.b.a. BUNN
TRUCKING,

     Plaintiff,

v.
                                                       Case No. 3:18-cv-0651
NAVISTAR INC., d.b.a.                                  Judge Campbell
INTERNATIONAL USED TRUCK                               Magistrate Judge Frensley
CENTER,
                                                       Jury Demand
     Defendant.


                     RESPONSE TO MOTION TO ALTER OR AMEND


         The Defendant, Navistar Inc., respectfully responds as follows to the Motion

to Alter or Amend (Dkt. 31) filed by the Plaintiff, James A. Bunn:

        1.     The Plaintiff asks the Court, under Rule 59, to rescind its dismissal of his

Complaint. He takes no issue with the Court’s analysis of his Complaint as filed,

but bases his motion on current and past representations that he intends eventually

to propose an unspecified amended pleading. Yet ample Sixth Circuit case law es-

tablishes that the Court properly dismissed the Plaintiff’s case with prejudice and

that Plaintiff has failed to demonstrate a basis for relief under Rule 59. Plaintiff

does not warrant relief based on the mere prospect of amending his complaint, par-

ticularly as he has never proffered any proposed amendment. Despite ample oppor-

tunity to do so, Plaintiff never filed an amended complaint under Rule 15(a)(1) or

sought leave to do so under Rule 15(a)(2). The excuse proffered in his Motion—



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      Case 3:18-cv-00651 Document 34 Filed 03/07/19 Page 1 of 6 PageID #: 253
essentially that his counsel made an implausible and unreasonable legal error read-

ing the Local Rules—is insufficient as a matter of law to justify setting aside the

judgment.

         2.    As an initial matter, the Court did not commit any “clear error of law” in

dismissing the complaint without affording Plaintiff leave to amend. Cf., e.g.,

Crouch v. Honeywell Int’l, Inc., 720 F.3d 333, 345 (6th Cir. 2013) (“[Rule 59] relief

could be warranted upon a showing of ‘(1) a clear error of law; … or (4) a need to

prevent manifest injustice.’”).1 “[A] bare request in an opposition to a motion to dis-

miss … does not constitute a motion within the contemplation of Rule 15(a).” La.

Sch. Emps.’ Ret. Sys. v. Ernst & Young LLP, 622 F.3d 471, 486 (6th Cir. 2010) (quot-

ing PR Diamonds Inc. v. Chandler, 364 F.3d 671, 698–99 (6th Cir. 2004)). “Absent

such a motion … Defendant was entitled to a review of the complaint as

filed …. Plaintiff[] [was] not entitled to an advisory opinion from the Court inform-

ing [him] of the deficiencies of the complaint and then an opportunity to cure those

deficiencies.” Id. (quoting Begala v. PNC Bank, Ohio N.A., 214 F.3d 776, 784 (6th

Cir. 2000)) (emphasis in original); accord, e.g., Beydoun v. Sessions, 871 F.3d 459,

469–70 (6th Cir. 2017); Kuyat v. BioMimetic Therapeutics Inc., 747 F.3d 435, 444

(6th Cir. 2014).

         3.    Thus, Plaintiff’s vague representation that he wished to amend in some

unspecified manner at some unspecified time (see Dkt. 12 at 8) did not insulate his

claims from dismissal with prejudice. Nothing obligated the Court to grant a motion

1The Plaintiff does not attempt to invoke the other two grounds, new evidence and
an intervening change in the law.


{00127735.DOCX / ver: }                      -2-

     Case 3:18-cv-00651 Document 34 Filed 03/07/19 Page 2 of 6 PageID #: 254
to amend that was never filed. See, e.g., Beydoun, 871 F.3d at 469 (holding before

Rule 15 can be applied, “the court must have before it the substance of the proposed

amendment.”). Plaintiff’s claim that the Court somehow violated its own Local

Rules and orders by granting the motion to dismiss without conducting an initial

case management conference is baseless. Nothing in the Local Rules impairs a

plaintiff’s right to amend or to seek leave to do so. Nor could it. See Wilson v. City of

Zanesville, 954 F.2d 349, 352–53 (6th Cir. 1992) (holding local rules cannot impair a

right to relief afforded by the Federal Rules of Civil Procedure).

         4.    Nor does Plaintiff’s motion demonstrate any manifest injustice. He bases

this claim on his attorney’s misunderstanding of when and how to amend a com-

plaint. (See Dkt. 32 at 3.) But this is not manifest injustice. It should go without

saying that attorneys must inform themselves of the applicable local rules and pro-

cedures of the courts in which they practice. See, e.g., United States v. Jarvis, No.

05-1849, 2008 WL 11451472, at *3 (D.N.M. June 3, 2008) (citing In re Jarvis, 53

F.3d 416, 422 (1st Cir. 1995); Harris v. Steelweld Equip. Co., 869 F.2d 396, 400 (8th

Cir. 1989)). Unsurprisingly, it follows that an attorney’s misinterpretation of the

law or local rules does not provide grounds for relief from a judgment. See FHC Eq-

uities LLC v. MBL Life Assur. Corp., 188 F.3d 678, 685–87 (6th Cir. 1999) (discuss-

ing precedent rejecting revision of judgment resulting from counsel’s legal misinter-

pretation); Edward H. Bohlin Co. v. Banning Co., 6 F.3d 350, 356–57 (5th Cir. 1993)

(affirming denial of relief under Rules 59 and 60 based on alleged misinterpretation

of local rules).



{00127735.DOCX / ver: }                     -3-

     Case 3:18-cv-00651 Document 34 Filed 03/07/19 Page 3 of 6 PageID #: 255
         5.    Moreover, Plaintiff’s counsel’s purported mistake—that somehow the ini-

tial case management conference must precede a motion to amend or dismissal un-

der Rule 12—is facially unreasonable. If nothing else, the Court’s September 10,

2018 Order, rescheduling the conference “[d]ue to the pending dispositive motion”

alerted Plaintiff’s counsel that a ruling was likely to precede, and thus might obvi-

ate, the conference. (Dkt. 20; see also Dkt. 25.) The emails Plaintiff attached to the

motion are of similar, not contrary, import. In light of the Court’s scheduling orders

and the clear text of the Federal Rules of Civil Procedure, no reasonable attorney in

the position of Plaintiff’s counsel could have believed that he needed to await either

the initial case management conference or the Rule 26(f) conference of counsel in

order to amend.2 Plaintiff offers no authority for his interpretation or to show that

such a mistake warrants relief under Rule 59.

         6.    Nor can Plaintiff’s failure to amend be characterized in a manner that

renders his request meritorious. A party’s inability to “correct what has—in hind-

sight—turned out to be a poor strategic decision” does not constitute “manifest in-

justice.” GenCorp Inc. v. Am. Int’l Underwriters, 178 F.3d 804, 834 (6th Cir. 1999).

“[M]anifest injustice does not exist where … a party could have easily avoided the

outcome, but instead elected not to act until after a final order had been entered.”

Leidos Inc. v. Hellenic Republic, 881 F.3d 213, 217 (D.C. Cir. 2018) (internal quotes

omitted).



2Plaintiff’s inaction is made all the more inexplicable by the unilateral right to
amend given by Rule 15(a)(1)(B).


{00127735.DOCX / ver: }                     -4-

     Case 3:18-cv-00651 Document 34 Filed 03/07/19 Page 4 of 6 PageID #: 256
         7.    Even now, seven months after Defendant moved to dismiss, the Plaintiff

still has not provided the Court with his proposed amendment. No explanation has

been provided detailing how the Complaint could be amended to result in a viable

claim. And if he were to file an actual motion under Rule 15, he would not be enti-

tled to amend at this juncture without meeting the prerequisites for relief under

Rule 59, which he has not done. See Leisure Caviar LLC v. U.S. Fish & Wildlife

Serv., 616 F.3d 612, 616 (6th Cir. 2010). The Rules do not permit a plaintiff to “use

the court as a sounding board to discover holes in [his] arguments, then reopen the

case by amending [his] complaint to take account of the court’s decision.” Energy

Conversion Devices Liquid. Trust v. Trina Solar Ltd., 833 F.3d 680, 691 (6th Cir.

2016) (quoting Leisure Caviar, 616 F.3d at 616).

         8.    Ultimately, Plaintiff’s delay did not result from any circumstance justify-

ing relief; it was simply “undue delay”; the Court could properly deny Plaintiff’s Mo-

tion on just that basis. See Leisure Caviar, 616 F.3d at 616.

         9.    “A claimant who seeks to amend a complaint after losing the case must

provide a compelling explanation to the district court for granting the motion.” Id.

at 617. Plaintiff’s explanation is not even reasonable, much less compelling, and

thus fails to provide grounds for revisiting the judgment. See Pond v. Haas, 674 F.

App’x 466, 473 (6th Cir. 2016); Leisure Caviar, 616 F.3d at 617. The Plaintiff’s mo-

tion is, accordingly, meritless and should be denied in its entirety.




{00127735.DOCX / ver: }                       -5-

     Case 3:18-cv-00651 Document 34 Filed 03/07/19 Page 5 of 6 PageID #: 257
                                       Respectfully submitted,

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                            CERTIFICATE OF SERVICE
I hereby certify that the foregoing is being filed via the Court’s ECF system, which
is expected to deliver a copy via electronic means to the following:
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on this, the 7th day of March, 2019.
                                         s/ Paul J. Krog
                                         Paul J. Krog




{00127735.DOCX / ver: }                      -6-

     Case 3:18-cv-00651 Document 34 Filed 03/07/19 Page 6 of 6 PageID #: 258
